Case 23-12825-MBK              Doc 480-1 Filed 05/10/23 Entered 05/10/23 19:54:41                           Desc
                                   Proposed Order Page 1 of 2


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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF NEW JERSEY

                                                          Chapter 11
    In re:
    LTL MANAGEMENT LLC,1                                  Case No.: 23-12825 (MBK)
                            Debtor.                       Judge: Michael B. Kaplan


                       ORDER DISMISSING THE SECOND BANKRUPTCY
                          PETITION OF LTL MANAGEMENT LLC



             The relief set forth on the following page is hereby ORDERED.




1
 The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
Street, New Brunswick, New Jersey 08933.
Case 23-12825-MBK         Doc 480-1 Filed 05/10/23 Entered 05/10/23 19:54:41             Desc
                              Proposed Order Page 2 of 2
Page 2 of 2
Debtor:     LTL Management LLC
Case No.: 23-12825 (MBK)
Caption: Order Dismissing Second Bankruptcy Petition of LTL Management LLC

       This matter having come before the Court upon the motion of the States of New Mexico

and Mississippi, seeking to dismiss the Chapter 11 case filed by LTL Management LLC (the

“Motion”), and the Court having reviewed the Motion and any opposition thereto, and finding

good cause for the entry of the within Order;

       IT IS HEREBY ORDERED THAT:

       1.      The Chapter 11 case filed by LTL Management LLC, bearing case number

               23-12825 (MBK), is hereby DISMISSED.

       2.      The within Order shall be deemed served on all parties upon its CM/ECF filing.




                                                2
